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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
       vs.                                    )       Case No. 13-20134-01-CM
                                              )
WEIQIANG ZHANG,                               )
                                              )
               Defendant.                     )


                               NOTICE REGARDING PASSPORT

       The United States, by and through undersigned counsel, notifies the Court, Pretrial

Services, and the defendant regarding the defendant’s passport, as a follow-up to the Court’s

inquiry during the April 4, 2018 sentence hearing.

       During the sentence hearing, the Court directed the defendant to surrender any passport

as a condition to be allowed self-surrender for Bureau of Prisons placement. An initial condition

of the defendant’s release in this case was that he “surrender any passport” to the clerk’s office.

Order Setting Conditions of Release, doc. 30 at 2.

       The defendant was unable to surrender his passport to the clerk’s office at that time

because it was taken as evidence in connection with his arrest and search of his residence. That

passport remains with the evidence in this case at the FBI office, so it is unavailable for the

defendant to utilize.

       The Order Setting Conditions of Release also prohibits the defendant from “obtain[ing] a

passport or other international travel document.” Id.

       With the passport in the custody of the FBI, the directive of the Court during the April 4

sentence hearing that the defendant relinquish his passport has been satisfied.
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                                                               Respectfully submitted,

                                                               STEPHEN R. MCALLISTER
                                                               United States Attorney


                                                               s/ Scott C. Rask
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                                  CERTIFICATE OF SERVICE

       I certify that on April 5, 2018, I electronically filed this Notice with the clerk of the court

by using the CM/ECF system, which will send a notice of electronic filing to the following:

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                                                                s/ Scott C. Rask
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